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                              UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      OAKLAND DIVISION

18
     EPIC GAMES, INC.,                             Case No. 4:20-CV-05640-YGR-TSH
19
                   Plaintiff, Counter-defendant,   APPLE     INC.’S      SUPPLEMENT   TO
20                                                 STATUS REPORT RE SPECIAL MASTER
                          v.                       REVIEW
21                                                 Courtroom: 1, 4th Floor
     APPLE INC.,
22                                                 Judge: Hon. Yvonne Gonzalez Rogers
                   Defendant, Counterclaimant.
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     APPLE INC.’S SUPPLEMENT TO STATUS REPORT RE
     SPECIAL MASTER REVIEW                                   CASE NO. 4:20-CV-05640-YGR-TSH
     Case 4:20-cv-05640-YGR          Document 1162        Filed 02/03/25      Page 2 of 3



 1           Pursuant to the Court’s Minute Entry of January 14, 2025 (Dkt. 1117), Defendant and
 2   Counterclaimant Apple Inc. (“Apple”), by and through its undersigned counsel, respectfully sub-
 3   mits this Supplement to Status Report Re Special Master Review that the parties jointly submitted
 4   on January 31, 2025 (Dkt. 1151).
 5           On Friday afternoon, Magistrate Judge Hixson held a hearing regarding the progress of
 6   discovery in this matter. Judge Hixson, who had read the parties’ submission to this Court (Dkt.
 7   1151) as well as the parties’ regular joint status report filed the previous day (Dkt. 1149), made a
 8   recommendation as to how the Special Master review could proceed to conclusion in light of this
 9   Court’s order setting the resumption of the evidentiary hearing for February 24, 2025. Judge
10   Hixson explained, based on his review of a number of the documents at issue, that there’s “a fair
11   degree of repetition, so I don’t know if it’s worthwhile to wait until the Special Masters have re-
12   viewed every last claim of privilege.” Rather, Judge Hixson continued, “it might be preferable to
13   proceed with the hearings as scheduled in February provided there is some method by which Epic
14   could file something with the Court down the road, if some documents are later produced that Ep-
15   ic thinks are important.” Judge Hixson left it up to the parties whether to convey this recommen-
16   dation to this Court. *
17           Apple promptly sent Epic a letter proposing to implement Judge Hixson’s recommenda-
18   tion, and requesting a response by mid-day Sunday. Apple’s letter, attached hereto as Exhibit A,
19   further proposed a process by which the parties could each select 1,000 documents from Apple’s
20   privilege logs to prioritize for the Special Masters’ review in the weeks leading up to the hearing.
21   Apple believes this proposal would provide an efficient method for the Special Masters to get
22   through the documents that the parties want reviewed prior to the hearing, is consistent with the
23   Special Master Re-Review Protocol that has already been entered as an order by this Court, and
24   takes into consideration Epic’s request that a subset of documents (i.e., the 100 identified in its
25   portion of the January 31 status report) be considered before the hearing. As of the time of this
26
     *
       A transcript of the January 31 hearing is not yet available; the quoted statements herein are be-
27   lieved to be accurate but the transcript is of course the official record of the proceedings.
28   APPLE INC.’S SUPPLEMENT TO STATUS                      CASE NO. 4:20-CV-05640-YGR-TSH
     REPORT RE SPECIAL MASTER REVIEW                  1
     Case 4:20-cv-05640-YGR             Document 1162    Filed 02/03/25     Page 3 of 3




 1   filing, Epic had not responded to Apple’s letter. Apple therefore respectfully brings Judge

 2   Hixson’s recommendation, as well as the prioritization process proposed by Apple in its letter, to

 3   the Court for its consideration.

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 5   Dated: February 3, 2025                      Respectfully submitted:
 6                                                By: /s/ Mark A. Perry
                                                  WEIL, GOTSHAL & MANGES LLP
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                                                  Mark A. Perry
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                                                  Attorney for Apple Inc.
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     APPLE INC.’S SUPPLEMENT TO STATUS                     CASE NO. 4:20-CV-05640-YGR-TSH
     REPORT RE SPECIAL MASTER REVIEW                 2
